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                                 UNITED STATES DISTRICT COURT

                                EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                 *           CRIMINAL NO: 20-55

                 v.                                      *           SECTION: “F” (4)

JASON R. WILLIAMS                                        *
NICOLE E. BURDETT
                                                  *      *       *

            MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
           FOR SELECTIVE AND VINDICTIVE PROSECUTION AND
    DUE PROCESS VIOLATIONS, AND REQUEST FOR EVIDENTIARY HEARING

        The Court is well aware of the government’s troubling decision to indict declared district

attorney candidate Jason Williams on the eve of qualifications for the November 2020 election

and during a historic pandemic that will prevent a timely trial on the merits. In addition, Mr.

Williams has apparently been under investigation by the federal government since at least 2016

for various non-tax matters that proved to be meritless, and the government rushed to indict him

on tax charges approved by the Department of Justice at the eleventh hour before Mr. Williams

qualified as a candidate for district attorney.1

        The government’s recently-produced discovery has shed light on this ugly situation and

leads to one of two conclusions, both bad for the prosecution. Either Mr. Williams, an African

American politician, has been singled out for selective and vindictive prosecution on a tax case in

which his actions were no different from that of hundreds of other clients of tax preparer Henry J.

Timothy; or the government has blatantly violated the defendants’ due process rights by knowingly

accepting false testimony about Mr. Williams and Ms. Burdett from Mr. Timothy, its star witness.

Either way, the indictment must be dismissed.


1
 As is reflected in the Grand Jury materials recently produced, the Government opted to present its case to a mere
quorum of only 16 grand jurors out of 23 in the midst of the COVID-19 pandemic.

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                                             FACTS

I.      The indictment.

        The defendants met with the Department of Justice Tax Division in January 2020 to discuss

the allegation that Mr. Williams filed fraudulent tax returns. Mr. Williams and Ms. Burdett both

informed DOJ tax that Henry Timothy made all tax decisions after reviewing Mr. Williams’

QuickBooks information. They also informed the government that, during an interview with

counsel, Mr. Timothy confirmed that he made all the tax decisions, that he believed Mr. Williams’

returns were appropriate, and that he treated Mr. Williams the same as all of his other clients.

        The government responded that, contrary to what Mr. Timothy told the defendants, Mr.

Timothy told the government that Ms. Burdett pressured him to take improper deductions. The

defendants warned the government to carefully evaluate this changed story, because Mr. Timothy

was the subject of a separate criminal tax investigation. The defendants also urged the government

to investigate how Mr. Timothy handled his other clients’ tax returns in order to confirm which of

Mr. Timothy’s statements were true: that he treated Mr. Williams like all of this other clients, or

that Mr. Williams and Ms. Burdett pressured him into taking improper deductions.

        As is discussed below, the government ignored that advice and selectively charged Mr.

Williams and Ms. Burdett, despite glaring evidence contradicting its theory.

II.     The FBI pursues a fruitless investigation into Mr. Williams.

        The government’s motivation for this selective and vindictive prosecution is apparent from

its grand jury subpoenas for bank records, which reveal that, for the past four years, the FBI has

been investigating a person, and trying to find a crime.

        The first bank subpoenas were issued between November 2016 and July 2017 at the request

of prosecutors from the Eastern District of Louisiana and agents from the New Orleans Division



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of the FBI.2 Ex. “A.” In addition to seeking Mr. Williams’ bank records, those subpoenas seek

records of a college acquaintance of Mr. Williams who received contracts from the City of New

Orleans (with no involvement from Mr. Williams) and a business that performed repairs on Mr.

Williams’ home. No tax agents are listed on those subpoenas, and the investigation into those

particular issues appears to have been abandoned.

         In July 2018, prosecutors from the Western District of Louisiana, working with the same

FBI agents, took over the investigation for reasons unknown to the defendants. Ex. “B.” An IRS

agent first appears on a subpoena in May 2019, shortly after Mr. Williams was visited by FBI and

IRS agents on April 23, 2019. Ex. “C.” As is explained below, the tax case arose after the

government hit dead ends on its previous, non-tax investigations and stumbled upon Mr. Timothy,

a tax preparer who misrepresented himself as a CPA, who was under investigation for

underreporting his own income, and who prepared Mr. Williams’ returns for several years.

III.     The government discovers Henry Timothy.

         The government first approached Henry Timothy on May 15, 2018. Mr. Timothy was

under investigation for failing to report more than $300,000 of his own income. Significantly, on

October 22, 2018, IRS Agent Lori Marable attempted to interview Mr. Williams as a witness in

that investigation, inquiring how long Mr. Timothy had been handling Williams’ taxes and how

much Mr. Timothy charged. Mr. Williams could not meet on October 22 because he was in trial

in federal court. After the trial, he contacted Agent Marable several times about rescheduling, but

she responded that the Timothy case was not pressing and that she would be in touch when she

started working on it again. Mr. Williams has not heard from Agent Marable since.



2
  According to the government’s numbering system, it appears that the Eastern District issued at least 20 other
subpoenas during this time period, and possibly as many as 41 total subpoenas, indicating that the fruitless
investigation was wide-ranging.

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       A few months later, the government turned its investigation into Mr. Timothy upside down.

On April 23, 2019, instead of interviewing Mr. Williams about Mr. Timothy, FBI Agent Todd

Goodson and IRS Agent Timothy Moore interviewed Mr. Timothy about Mr. Williams.

       Mr. Timothy told the agents that he used spreadsheets and backup documents provided by

Ms. Burdett to prepare Mr. Williams’ taxes. Ex. “D,” p. 1. He stated that he would provide a

filing authorization to Ms. Burdett, that she would return the authorization signed by Mr. Williams,

and that he would then file the returns. Id. at p. 2. Significantly, Mr. Timothy did not say that

Ms. Burdett would pressure him to take improper deductions. See Rec. Doc. 1 at ¶ 18.

        The agents also questioned Mr. Timothy about a number of specific items on Mr.

Williams’ tax returns from 2012 through 2017. At no time did Mr. Timothy say that Ms. Burdett

instructed him to take any of these deductions. See Ex. “D” at p. 2-3.

       Mr. Timothy made similar statements to undersigned counsel on April 26, 2019.

Specifically, Mr. Timothy stated that Ms. Burdett would bring him Mr. Williams’ QuickBooks

and other records, that he would prepare the tax returns and send a filing authorization to Ms.

Burdett, and that he would file Mr. Williams’ tax returns upon receipt of the authorization. Mr.

Timothy further stated that he made the decisions about what deductions should be taken, that he

would ask Ms. Burdett for clarifications if necessary, and that he believed he did everything

appropriately. Mr. Timothy stated that there was nothing unusual about Mr. Williams’ taxes and

that the last thing he wanted to do was to get Mr. Williams in trouble.

       Mr. Timothy had a second interview with the U.S. Attorney, FBI Agent Goodson, and IRS

Agent Moore on November 5, 2019. Initially, Mr. Timothy repeated substantially the same thing

he told the FBI and undersigned counsel in April 2019—that he reviewed Mr. Williams’ records

and determined what expenses could be deducted:



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                BURDETT was an attorney but was also the office administrator for
        WILLIAMS. BURDETT communicated with TIMOTHY by telephone and
        brought the QuickBooks details to TIMOTHY. The QuickBooks details were paper
        copies that included profit and loss statements, balance sheets, general ledger, and
        financials. If TIMOTHY had any questions, TIMOTHY called BURDETT and
        BURDETT would relay the questions to WILLIAMS. TIMOTHY also prepared
        BURDETT’s personal taxes for tax years 2013 through 2017.

                BURDETT retrieved the tax preparations from TIMOTHY including the
        tax forms 8879. BURDETT provided the items to WILLIAMS who then signed
        the tax forms 8879. BURDETT then returned the signed forms to TIMOTHY and
        TIMOTHY electronically filed the tax returns. TIMOTHY stated that there were
        no questions about the completed returns.

Ex. “E,” p. 2. But then Timothy took a break, had a private conversation with his lawyer, and his

story immediately took a 180-degree turn:

        [At this point during the interview, TIMOTHY and his attorney London met
        privately in another room for a period of time before continuing the interview.]

        TIMOTHY stated that BURDETT asked TIMOTHY to lower the amounts
        owed on the tax returns.

Id. at p. 3 (emphasis added). For the first time—contradicting his previous interviews with the

IRS, the FBI, and undersigned counsel—Mr. Timothy abruptly changed his story and told the

government that he “did things he should not have done” on Mr. Williams’ tax return because Ms.

Burdett asked him to. Id.

IV.     The government accepts Timothy’s changed story without verification and contrary
        to the evidence.

        The government is well aware of Mr. Timothy’s previous interviews in which he did not

even acknowledge taking bad deductions for Mr. Williams, much less blame Ms. Burdett for it.

However, the government enthusiastically accepted Mr. Timothy’s new story, despite glaring

contradictions and mountains of contrary evidence.

        First, the government has turned a blind eye to Mr. Timothy’s many inconsistencies. As

is set forth above, in his April 2019 interview with the government, Mr. Timothy identified no

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problems with Mr. Williams’ tax returns, and certainly did not accuse Mr. Williams or Ms. Burdett

of wrongdoing. Timothy’s story changed in November 2019, and he then told the FBI that (1)

“BURDETT asked TIMOTHY to lower the amounts owed on the tax returns”; (2) “TIMOTHY

felt like he had a personal relationship with BURDETT and he needed to make WILLIAMS and

BURDETT happy”; and (3) “TIMOTHY did things he should not have done.” Ex. “E” at p. 3.

However, just last week, Mr. Timothy reverted to his original story and stated, through his counsel,

that he believed Mr. Williams’ returns were appropriate when he filed them:

       REQUEST FOR ADMISSION NO. 14:

       Please admit that at the time you prepared each tax return for filing by Jason Rogers
       Williams, you believed that the deductions claimed on the return were appropriate
       and consistent with law

       RESPONSE TO REQUEST FOR ADMISSION NO. 14:

       It is admitted that at the time Defendant Timothy prepared each tax return for filing
       by Jason Rogers Williams, you [sic] believed that the deductions Defendant
       Timothy claimed on the return were appropriate and consistent with law.

Ex. “F” (emphasis added).

       Second, although the government knew that Mr. Timothy prepared Mr. Williams’ tax

returns with Intuit Pro Series tax software, the government did not even ask Timothy to produce

his electronic records. Had it done so (as the defendants have), the government would have

discovered (1) that there were no draft tax returns for Mr. Williams, (2) that there were no

alterations to the deductions on Mr. Williams’ return, and (3) that Mr. Timothy simply prepared a

final return shortly before the tax deadline every year. Ex. “G.”

       Third, there is not a single document corroborating Mr. Timothy’s allegation. Mr. Timothy

has produced no communications with Ms. Burdett at all. Ms. Burdett, however, provided the

government with all of her communications with Mr. Timothy, and those materials refute Mr.



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Timothy’s changed story. Indeed, Ms. Burdett’s materials are consistent with Timothy’s original

statement—that he prepared the returns on his own. Specifically, the communications show that

Ms. Burdett hounded Mr. Timothy to prepare the returns before the tax deadline. See, e.g., Ex.

“H” (On March 7, 2016, Ms. Burdett texts Mr. Timothy that “my employees are starting to panic

because I have not yet given them a 1099. Do you need me to resend you the information that I

previously emailed?”; April 11, 2018, “Everyone is harassing me to see if taxes are done”). Not

only was there no discussion about the content of the returns, there was no time to do so because

Mr. Timothy would not send the returns until the last minute.

       Fourth, in his November 2019 interview with the government, before he changed his story,

Mr. Timothy “acknowledged his handwriting on the P&L statement copies” that he received from

Ms. Burdett. Ex. “E” at 3. These documents show that Mr. Timothy personally reviewed and

approved every deduction listed on Mr. Williams’ tax return. Ex. “I.” Significantly, this

corroborates Mr. Timothy’s original statement—that he made all tax decisions—and contradicts

his changed story.

       Fifth, although Mr. Timothy now claims that he “did things he should not have done” on

Mr. Williams’ tax returns, all of the deductions are plainly listed on Mr. Williams’ returns. There

is nothing hidden or misleading. For example, on Mr. Williams’ 2013 Schedule C expenses, Mr.

Timothy listed $8,046.99 in “political” contributions. Ex. “J.” If Mr. Timothy believed this was

something “he should not have done,” why did he disclose that the expenses were for political

contributions and not characterize it as something else? In its single-minded pursuit of Mr.

Williams, the government failed to ask. The obvious answer—that Timothy listed the deduction

because he thought it was appropriate—corroborates Mr. Timothy’s original statement and

undermines his story that he “did things he should not have done” at the request of Ms. Burdett.



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       Sixth, the government failed to investigate Mr. Timothy’s misrepresenting himself as a

CPA, even though Mr. Timothy admitted to the government that he is not and has never been a

CPA. See Ex. “K.” Similarly, the government failed to investigate Mr. Timothy’s false claim that

he earned a Master of Business Administration. Compare Ex. “L” (Timothy claiming he obtained

an MBA from the University of New Orleans in 1978) with Ex. “M” (Timothy’s UNO transcript

indicating that he enrolled in graduate school in 1991 and only took one course).

       Seventh, the government ignored the testimony of anyone who contradicted Mr. Timothy’s

changed story. For example, on June 5, 2020, the government interviewed J.B., a former

contractual employee of Mr. Williams who also used Mr. Timothy for his taxes. When the

government pointed out that Mr. Timothy deducted “$22,000 for supplies, $4,000 for meals and

entertainment, $1,700 for utilities, in addition to deductions for uniforms and membership fees”

on J.B.’s tax return, J.B. responded “that’s insane” and stated that he had not noticed those

deductions before. Ex. “N.” The government did not challenge that assertion. In other words, the

government accepts J.B.’s statement that Mr. Timothy took those deductions on his own, without

J.B.’s participation or knowledge. However, the government contends that Mr. Timothy did the

same thing for Mr. Williams only because Ms. Burdett demanded it. Even worse, when J.B.’s

interview contradicted the government’s theory of the prosecution, the government just stopped

asking questions—the government has not produced any other interviews of Mr. Timothy’s clients.

       This seventh contradiction—grossly amplified by the facts set forth below—is the reason

for Mr. Williams’ motion to dismiss. After it had investigated Mr. Williams for several years for

non-tax related matters, unsuccessfully trying to find a crime, the government willingly turned a

blind eye to all of these problems and (1) indicted Mr. Williams (and Ms. Burdett as collateral

damage), (2) let Mr. Timothy off the hook completely for his handling of Mr. Williams’ returns,



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and (3) failed even to look into Mr. Timothy’s other clients. Simply put, Mr. Timothy treated

Mr. Williams exactly the same way he treated all of his clients, yet Mr. Williams and Ms.

Burdett are the only ones who have been prosecuted. The government ignored all evidence

that contradicted its theory in its haste to indict an African American candidate for political office

in New Orleans on the eve of qualifying.

V.     The government selectively prosecuted Jason Williams and deliberately ignored Mr.
       Timothy’s other clients.

       The defendants urged the government to carefully evaluate Mr. Timothy’s changed

statement, in particular by investigating how Mr. Timothy treated his other clients. In other words,

if Mr. Timothy took aggressive or improper deductions for all of his clients, it would undermine

his changed story that he took aggressive or improper deductions for Mr. Williams only because

Ms. Burdett pressured him. Not only did the government fail to look into that question, it ignored

a mountain of evidence sitting in its own files.

       The government recently produced an analysis of all of the tax returns filed by Mr. Timothy

from 2013 through 2016. The results are staggering. Across the board, Mr. Timothy made

deductions that virtually eliminated all of his clients’ income. It is impossible to look at this

information and not realize that Mr. Timothy’s changed story is false and that Ms. Burdett clearly

did not pressure him to take deductions for Mr. Williams.            The only explanation for the

government’s deliberate ignorance of this obvious fact is its years-long pursuit of Mr. Williams

and its selective decision to prosecute him.




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        A.       In general, Henry Timothy was deducting virtually all of his clients’ income.

        From 2013 through 2016, Mr. Timothy’s clients reported a total of $71,982,007 in

Schedule C income.3 Ex. “O.”4 Mr. Timothy deducted a total of $62,146,980 from those returns,

leaving taxable income of only $9,835,027. As a whole, Mr. Timothy’s Schedule C clients paid

virtually no taxes, and the government has not even looked into them. Even worse, despite this

mountain of contrary evidence, the government has accepted Mr. Timothy’s story that he only

made aggressive deductions for Mr. Williams because Ms. Burdett pressured him to do so.

        A comparison of just a few Timothy clients for tax year 2013 makes it clear that he was

treating Mr. Williams just like everyone else:

                                                             SchC: Gross           SchC:       SchC:
      Name                       Business                                        Deductions Profit/Loss
                                                               Income
    J. BROW.        CONSTRUCTION SERVICE                     $985,614            $978,170   $7,444
    H. LA.          SEAFOOD PROCESSING                       $867,596            $827,159   $40,437
    DOU.            HOME HEALTH                              $798,891            $771,211   $27,680
    H. CO.          RESTAURANT & LOUNGE                      $617,891            $590,430   $27,461
    WILLIAMS        ATTORNEY                                 $578,569            $493,334   $85,225
    L. KI.          AUTO BODY AND POWDER                     $435,705            $421,470   $14,235
    DUP.            RENOVATIONS                              $371,912            $345,145   $26,767

See Ex. “O.” In fact, as the above chart makes clear, Mr. Timothy took more deductions for many

of his other clients than for Mr. Williams, and the government has confirmed that it has not looked

into any of them. Ex. “P.”

        B.       The government declined to prosecute C.D., a similarly situated individual, in
                 2017.

        Several years ago—before the government discovered the connection between Mr.

Timothy and Mr. Williams—Timothy client C.D. was investigated and not charged. In 2013,


3
  The defendants focus on Schedule C income and deductions because that is the focus of the indictment. However,
Mr. Timothy’s treatment of itemized personal deductions is similar. His clients reported a total of $294,660,168 in
W-2 income, and after deductions paid a total of $24,669,869 in taxes—less than a 10% overall tax rate.
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  Exhibit “O” has been prepared by counsel from a much larger spreadsheet provided by the government.

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C.D.’s home health care company reported $798,891 in gross income, deducted $771,211, and

paid taxes on only $27,680. Ex. “O.” In 2014, C.D.’s company reported $942,475 in gross income,

deducted $921,294, and paid taxes on only $21,181. Id. In 2015, C.D.’s company reported

$888,158 in gross income, deducted $866,934, and paid taxes on only $21,224. Id. In 2016, C.D.’s

company reported $907,753 in gross income, deducted $866,238, and paid taxes on only $21,515.

Id. In total, during the four years that Mr. Timothy prepared C.D.’s taxes, C.D. paid approximately

$35,000 on $3,537,277 in income.

       The IRS found that many of C.D.’s “deductions” from the business’s gross earnings were

for personal expenses, that C.D. “regularly withdraws cash, issues a check to herself, or transfers

money from the business account into her personal account on a bi-weekly basis,” and that the

“business account does contain personal expenses such as [C.D’s] children’s tuition for school.”

Ex. “Q.” However, without articulating a dollar amount, the IRS concluded that the “tax harm

discovered is de minimis for criminal tax proceedings” and closed its case. Id.

       C.      The government ignored J.B.

       As is described above, Timothy client J.B. admitted to the government that Timothy

included $27,700 in improper deductions on his tax return. The government has not taken any

further action towards J.B. and has apparently accepted his explanation that Mr. Timothy took

those deductions on his own.

       D.      The government has not even bothered to look into many more similarly
               situated individuals.

       Even more shocking are the many other clients of Henry Timothy whom the government

has wholly ignored, despite the defendants’ specific request that the government consider

Timothy’s treatment of his other clients before charging Mr. Williams and Ms. Burdett.




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               1.     J. Brow.

       For example, the government has produced the tax returns of J. Brow., who hired Mr.

Timothy to handle his taxes for 2011, 2012, and 2013. Ex. “O.” During those years, J. Brow.’s

tax returns reported the following:

                                                                                   SchC:
        Year           SchC: Gross Income               SchC: Deductions
                                                                                 Profit/Loss
    2011            $498,952                          $487,606                 $11,346
    2012            $985,614                          $978,170                 $20,800
    2013            $1,383,967                        $1,321,932               $62,035

       After Mr. Timothy regularly deducted at least 95% of J. Brow.’s income for several years,

J. Brow. switched to a licensed CPA in 2016. Ex. “R.” Suddenly, J. Brow. reported $420,000 in

taxable income. Id. Unsurprisingly, the government has not questioned J. Brow.

               2.     It is clear that Mr. Timothy was taking aggressive deductions for all of
                      his clients.

       And J. Brow. is not an isolated example. Regardless of the type of business, the tax liability

for all of Mr. Timothy’s clients is regularly, repeatedly, and drastically reduced by Schedule C

deductions. The information below was provided by the government, yet the government has

neither interviewed Mr. Timothy nor a single one of these business owners about their taxes, much

less charged them with multiple felony counts.

                                                         SchC: Gross
        Name             Business          Year                            SchC: Profit/Loss
                                                           Income
     VI.            CONSTRUCTION          2013        $201,347             $7,696
                                          2014        $201,302             $20,105
                                          2015        $246,673             $1,241
                                          2016        $315,233             $8,681




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                                                      SchC: Gross
        Name            Business         Year                          SchC: Profit/Loss
                                                        Income
     E. SM.       TRUCKING              2013        $215,309          $19,042
                                        2014        $549,749          $16,194
                                        2015        $516,979          $55,247


                                                      SchC: Gross
        Name            Business         Year                          SchC: Profit/Loss
                                                        Income
     ROSI.        CONTRACTOR            2013        $263,151          $12,421
                                        2014        $335,527          $11,830
                                        2016        $628,954          ($752)


                                                      SchC: Gross
        Name            Business         Year                          SchC: Profit/Loss
                                                        Income
     S. J.        DAYCARE               2015        $315,532          $11,346
                                        2016        $311,714          $40,231


                                                      SchC: Gross
        Name            Business         Year                          SchC: Profit/Loss
                                                        Income
     A. SCO.      COFFEE SHOP           2013        $295,780          $13,671
                                        2014        $337,127          $8,835
                                        2015        $399,430          $7,519
                                        2016        $348,939          $27,967

See Ex. “O.”

       All of this points to two possible conclusions, both bad for the government. Either the

government genuinely believes that Mr. Timothy conspired with his clients to take improper

deductions and selected only Jason Williams and Nicole Burdett for prosecution.        Or the

government knows that, like Williams and Burdett, Timothy’s hundreds of other clients had

nothing to do with his improper deductions, and the government has decided to prosecute Mr.

Williams with false evidence. Either way, the indictment must be dismissed.




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                                   LAW AND ARGUMENT

I.     Selective and Vindictive Prosecution.

       Mr. Williams—and as collateral damage Ms. Burdett—have been singled out for

prosecution from hundreds of Henry Timothy’s clients who, like the defendants, turned over their

records to Timothy and relied upon him to identify and take appropriate deductions. The

government has ignored Timothy’s many other clients whose tax returns included even greater

deductions than Mr. Williams’ returns. The difference is that Mr. Williams is an African American

public official and announced candidate for New Orleans district attorney.

       In order to make out a claim of selective prosecution, a defendant must “make a prima

facie showing that he has been singled out for prosecution while others similarly situated and

committing the same acts have not.” United States v. Hoover, 727 F.2d 387, 389 (5th Cir. 1984)

(quoting United States v. Greene, 697 F.2d 1229, 1234 (5th Cir. 1983)). The defendant “must then

demonstrate that the government's discriminatory selection of him for prosecution has been

invidious or in bad faith in that it rests upon such impermissible considerations as race, religion,

or the desire to prevent his exercise of constitutional rights.” Id. If a defendant meets these

requirements, then the burden shifts to the government to demonstrate a legitimate basis for

selecting the defendant for prosecution. Id. (citing Greene, 697 F.2d at 1235).

       As the Court has recognized,

       Through broad, prosecutorial discretion is not ‘completely unfettered[; s]electivity
       in the enforcement of criminal laws is … subject to constitutional constraints.’
       Wayte, 470 U.S. at 608 (citing United States v. Batchelder, 442 U.S. 114, 125
       (1979)). When presented with a selective or vindictive prosecution challenge, the
       Court may review decisions to prosecute in limited circumstances to ensure that the
       decision is not the product of individual or institutional abuse or ‘deliberately based
       upon an unjustifiable standard such as race, religion, or other arbitrary
       classification, including the exercise of protected statutory and constitutional
       rights.’ Id. (citing Bordenkircher, 434 U.S. at 364-65)); Armstrong, 517 U.S. at
       464-65 (the equal protection clause of the Fifth Amendment forbids (selective)

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        prosecution based upon race, religion, or other arbitrary factor); United States v.
        Goodwin, 457 U.S. 368, 373 (1982) (prosecutorial vindictiveness is a due process
        violation for it ‘punish[es] a person because he has done what the law plainly allows
        him to do[,]’ but it is difficult to prove considering that the ‘[m]otives are complex
        and difficult to prove’ and ‘[t]he imposition of punishment is the very purpose of
        virtually all criminal proceedings.’). To succeed on a selective prosecution claim,
        the defendant must demonstrate that the prosecution had both a discriminatory
        effect and that it was motivated by a discriminatory purpose . . . .

Rec. Doc. 42 at 9-10.

        For a vindictive prosecution claim, a defendant must present objective evidence that the

prosecutor’s actions were designed to punish a defendant for asserting his legal rights. United

States v. Saltzman, 537 F.3d 353, 359 (5th Cir. 2008). In addition, even without evidence of actual

vindictiveness, a defendant may “show sufficient facts to give rise to a presumption of

vindictiveness” in certain circumstances. Id.

        Selective prosecution may exist when the government charges a defendant because of the

“exercise of constitutional rights,” United States v. Johnson, 577 F.2d 1304, 1307 (5th Cir. 1978),

and courts have found selective prosecution against defendants singled out for exercising such

constitutional rights as holding a positions in a labor union and soliciting support for political ideas.

See United States v. McDonald, 553 F.Supp. 1003, 1008 (S.D.Tex. 1983) (dismissing an

indictment for selective prosecution of a union president); Nichols v. Vill. of Pelham Manor, 974

F. Supp. 243, 256 (S.D.N.Y. 1997) (denying summary judgment in a civil selective enforcement

claim in which plaintiff alleged he was improperly arrested because he was recruiting membership

for a particular political party).

        Not a single client of Mr. Timothy’s other than Mr. Williams and Ms. Burdett have been

prosecuted or referred for prosecution. See Ex. “P.” The government has declined even to

investigate any of the similarly-situated individuals described above—including those whose

underpayment of taxes as a result of Timothy’s incompetence, mistakes, or misconduct far

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exceeded Mr. Williams’.

        The government knew that Mr. Williams, who is African American, was a declared

candidate for district attorney and was to formally qualify less than three weeks after he was

indicted. The timing of the indictment—after months of discussions in which the defense pointed

out both the flaws in the government’s theory and the upcoming election—violates the Department

of Justice’s own policy on “Election Year Sensitivities,” which provides that

        [P]olitics must play no role in the decisions of federal investigators or prosecutors
        regarding any investigations or criminal charges. Law enforcement officers and
        prosecutors may never select the timing of investigative steps or criminal charges
        for the purpose of affecting any election, or for the purpose of giving an advantage
        or disadvantage to any candidate or political party.

See Attorney General Memorandum for All Department of Justice Employees Concerning Election

Year Sensitivities (March 9, 2012). The “government's failure to follow its normal prosecutorial

procedures mandates stricter judicial scrutiny” over claims of selective prosecution. United States

v. Haggerty, 528 F. Supp. 1286, 1293 (D. Colo. 1981).

II.     Due Process.

        Henry Timothy is a liar and the government knows it. As the Court noted in its prior ruling,

the defendants “invoke broad principles concerning their suspicion of outrageous government

conduct and their constitutional right to due process.” See Order and Reasons (Doc. 42) at 11.

The discovery produced by the government confirms those suspicions.

        The shoddiness of the government’s case—the fact that it relies upon the false testimony

of Henry Timothy—underscores the injustice of Mr. Williams’ and Ms. Burdett’s inability to bring

this case to trial quickly and put this misguided case behind them. See Moore v. Arizona, 414 U.S.

25, 38 (1973) (anxiety and concern suffered by the accused by unresolved criminal charges

constitutes prejudice in the constitutional speedy trial analysis).



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          “To be sure, the Court is tasked with ensuring that all defendants’ due process rights are

respected, no matter their station in life.” See Order and Reasons (Doc. 42) at 11. When the

government engages in conduct that is so fundamentally unfair that it violates the requirements of

due process, dismissal is warranted. United States v. Mauskar, 557 F.3d 219, 231 (5th Cir. 2009).

The “standards of justice” that are inherent to the due process clause “are not authoritatively

formulated anywhere as though they were specifics.” Rochin v. California, 342 U.S. 165, 169

(1952).     Dismissal of the indictment is an “extreme step” that is warranted under “rare[]

circumstances” that are case and fact specific. Mauskar, 557 F.3d at 231 (declining to find

outrageous government conduct where government failed to disclose that its case rested upon

forged documents until trial, but noting that the outcome would likely have been different had the

government also “suborned perjury” about the authenticity of the documents).

          Such circumstances, to be further developed during an evidentiary hearing, are present

here. The government knows at the outset that its case is based upon lies: the evidence is

conclusive that (1) Timothy did not revise Mr. Williams’ draft tax returns at Ms. Burdett’s

direction because Timothy did not prepare any drafts at all; (2) Timothy decided what deductions

to take on Mr. Williams’ returns, as he said during his first interview with the government, during

his interview with undersigned counsel, as reflected by his handwritten notations on the P&L

statements provided by Ms. Burdett to him, and consistent with the same process he used for the

other clients of his that the government interviewed; (3) there are no text messages, emails, or

other documentation that corroborate Timothy’s false claim that Ms. Burdett pressured him to

change Mr. Williams’ deductions; and (4) Timothy accurately labeled expenses that were not

deductible (i.e., “political contributions”) but through either Timothy’s willfulness or

incompetence took deductions on Mr. Williams’ returns for those expenses.



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         The government knows that Timothy changed his version of events entirely only after his

attorney interrupted his original narrative and met with him privately. And the government knows

that this second version of events is contradicted by all of the available objective evidence—

including records of more than a thousand tax returns with Schedule C’s that Timothy prepared

for hundreds of other clients that establish that Timothy made the same mistakes on all of them.

But the only people charged are Mr. Williams, an African American candidate for public office,

and Ms. Burdett as collateral damage.

III.     Request for Evidentiary Hearing.

         Mr. Williams and Ms. Burdett ask that the Court dismiss the indictment against them based

upon the evidentiary showing made with this motion or, in the alternative, set the matter for

evidentiary hearing. See United States v. Young, Case No. 3:16-cr-45, Order [Doc. 14] (M.D. La.

June 27, 2016) (deGravelles, J.) (setting motion to dismiss for vindictive and selective prosecution

for evidentiary hearing).

                                              Respectfully submitted,

 s/Michael W. Magner                                 /s/ William P. Gibbens
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